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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Action No. 15-cv-02507-JLK

KYLE JEFFERY SCHWARK,

       Plaintiff,
v.

SHERIFF FRED WEGENER, in his official and individual capacities;
NURSE SUSAN CANTERBURY, in her individual capacity;
NURSE JERI SWANN, in her individual capacity;
NURSE CATHLENE PEARCE, in her individual capacity; and
DOCTOR KATHERINE FITTING, in her individual capacity,

       Defendants.


   DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION FOR LEAVE TO FILE
                       SECOND AMENDED COMPLAINT
________________________________________________________________________

       Defendants, SHERIFF FRED WEGENER, NURSE SUSAN CANTERBURY,

NURSE JERI SWANN, and NURSE CATHLENE PEARCE, by their attorneys, SENTER

GOLDFARB & RICE, LLC, hereby respond to Plaintiff’s Motion for Leave to File a Second

Amended Complaint [Doc. 49], as follows:

                            I.   INTRODUCTION

       1.      On February 14, 2017, Plaintiff filed a Motion for Leave to File a Second Amended

Complaint (hereinafter “Motion”) to add an additional Defendant, Captain Daniel Muldoon.

Plaintiff argues that he “only became aware of facts to support liability … during Defendant Nurse

Susan Canterbury’s deposition.” Doc. 49 at 3. Even if Plaintiff’s explanation was believed, it

would not constitute “good cause” for waiting nearly seven months after the Scheduling Order’s
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deadline to amend pleadings to file his Motion. Indeed, there is no basis to justify this delay as

Plaintiff has known about Captain Muldoon and his involvement since before the filing of the

Complaint or at the very latest when Park County Defendants produced their Initial Disclosures.

Furthermore, the statute of limitations has passed and bars the assertion of any claims against

Captain Muldoon.

       2.      Plaintiff filed his initial Complaint on November 14, 2015. Doc. 1. The filing

occurred one year and eight months after the last contact giving rise to this litigation, which

occurred on March 10, 2014, when Kyle Schwark was hospitalized at Denver Health. Id. at 10.

The Complaint originally listed five Defendants: (1) Sheriff Fred Wegener; (2) Nurse Susan

Canterbury; (3) Nurse Jeri Swann; (3) Nurse Cathlene Pearce; and (4) Doctor Katherine Fitting.

       3.      The parties conducted their Scheduling Conference on June 23, 2016. Doc. 30.

During the conference, the Court ordered the following deadlines in the case: (1) July 15, 2016,

deadline for amending pleadings and joinder of parties; (2) January 23, 2017, deadline for

discovery cut-off; and (3) February 22, 2017, deadline for dispositive motions. Id. at 8.

       4.      More than a week prior to the Scheduling Conference, on June 14, 2016, the parties

exchanged their initial disclosures. Immediately after the named Defendants, the Park County

Defendants’ initial disclosures list Captain Dan Muldoon as a person “likely to have discoverable

information” pertaining to this case. See Park County Defendants’ Initial Disclosures, attached as

Exhibit A. Specifically, the document states “Captain Muldoon oversees operations for the Park

County Jail. He has discoverable information regarding various allegations in Plaintiff’s

Complaint, and operations and training at the Park County Jail. Exhibit A, at 2.
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       5.      With their initial disclosures, Park County Defendants provided copies of two

documents that are relevant to the issue currently before the Court: (1) “Email chain between Susan

Canterbury and Cynthia Parker re Kyle Schwark. [Schwark.Park 000033-34]” (hereinafter “Email

Chain”); and (2) “March 10, 2014 memorandum to Denver Health from Capt. D. Muldoon.

[Schwark.Park 000050]” (hereinafter “Memo”). Exhibit A, p. 5. The Email Chain provides Nurse

Canterbury’s correspondence with Cynthia Parker, Psy.D on March 5, 2014, which described the

nurse’s interactions with Mr. Schwark that day. See Email Chain, attached as Exhibit B. This

email also specifically mentions Captain Muldoon in discussing Mr. Schwark’s condition: “gave

the captain a reality check.” Exhibit B, p. 1. Moreover, the initial disclosures included a Memo

issued on March 10, 2014, by the Captain to Denver Health confirming that “[t]he Park County

Jail will assume financial responsibility for the care of Kyle Schwark.” Memo, attached as Exhibit

C. In short, Park County Defendants provided documents to Plaintiff in advance of the Scheduling

Conference that indicated Captain Muldoon’s potential involvement and negate any argument that

Plaintiff only learned the extent of the Captain’s participation during Nurse Canterbury’s

deposition on February 7, 2017.

                            II.   STANDARD OF REVIEW

       6.      Given there was a Scheduling Order in place for this case, Plaintiff incorrectly

argues that Rule 15 of the Federal Rules of Civil Procedure controls his motion for leave to amend.

“Under Rule 16(b)(4), a scheduling order ‘may be modified only for good cause and with the

judge’s consent.’” Birch v. Polaris Indus., Inc., 812 F.3d 1238, 1247 (10th Cir. 2015). In the Tenth

Circuit, “[a]fter a scheduling order deadline, a party seeking leave to amend must demonstrate (1)

good cause for seeking modification under Fed. R. Civ. P. 16(b)(4) and (2) satisfaction of the Rule
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15(a) standard.” Gorsuch, Ltd., B.C. v. Wells Fargo Nat’l Bank Ass’n, 771 F.3d 1230, 1240 (10th

Cir. 2014) (citing Pumpco, Inc. v. Schenker Int’l, Inc., 204 F.R.D. 667, 668 (D. Colo. 2001)).

       7.      As the Pumpco, Inc. court explained, Rule 16(b) dictates a more stringent standard

than Rule 15(a), requiring some persuasive reason as to why the amendment could not have been

effected within the time frame established:

         Rule 16(b)’s “good cause” standard is much different than the more lenient
         standard contained in Rule 15(a). Rule 16(b) does not focus on the bad faith of
         the movant, or the prejudice to the opposing party. Rather, it focuses on the
         diligence of the party seeking leave to modify the scheduling order to permit the
         proposed amendment. Properly construed, “good cause” means that scheduling
         deadlines cannot be met despite a party’s diligent efforts. In other words, this
         court may modify the schedule on a showing of good cause if [the deadline]
         cannot be met despite the diligence of the party seeking the extension.
         Carelessness is not compatible with a finding of diligence and offers no reason
         for a grant of relief.

204 F.R.D. at 668 (citations and internal quotation marks omitted) (emphasis added). “Good cause

comes into play in situations in which there is no fault—excusable or otherwise. In such situations,

the need for an extension is usually occasioned by something that is not within the control of the

movant.” Bishop v. Corsentino, 371 F.3d 1203, 1207 (10th Cir. 2004) (citation and internal

quotation marks omitted) (interpreting good cause for extension of time to file notice of appeal).

       8.      To demonstrate good cause pursuant to Rule 16, a plaintiff must “show that it has

been diligent in attempting to meet deadlines, which means it must provide an adequate

explanation for any delay.” Minter v. Prime Equip. Co., 451 F.3d 1196, 1205 n. 4 (10th Cir. 2006)

(citations omitted). “Rule 16’s good cause requirement may be satisfied, for example, if a plaintiff

learns new information through discovery or if the underlying law has changed. If the plaintiff

knew of the underlying conduct but simply failed to raise [the claims], however, the claims are

barred.” Birch, 812 F.3d at 1247 (citing Gorsuch, 771 F.3d at 1240) (emphasis added). Moreover,
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if Plaintiff fails to show good cause under Rule 16(b), there is no need for the Court to consider

whether Plaintiff has satisfied the requirements of Rule 15(a). See Gorsuch, 771 F.3d at 1242

(“Having concluded that Plaintiffs lacked good cause to amend their pleadings after the scheduling

order deadline, we need not reach the Rule 15(a) issue.”).

                                    III.       ARGUMENT

       9.      Plaintiff relies only on Rule 15 for purposes of seeking to amend his Complaint and

does not address the application of Rule 16. Under either standard, Plaintiff has provided no

persuasive reason why he could not amend the Complaint before the deadline on July 15, 2016,

particularly as all information related to Captain Muldoon was provided by June 14, 2016. Under

Rule 16’s stringent standard, there is no basis for Plaintiff’s lack of diligence.

       10.     Plaintiff agreed to the deadline for amending pleadings at the Scheduling

Conference after having more than a week to review Park County Defendants’ initial disclosures,

which were provided on June 14, 2016. See June 23, 2016, Scheduling and Discovery Order,

attached at Exhibit D. These disclosures listed Captain Muldoon immediately after the named

Defendants as an individual “likely to have discoverable information” and explained that “Captain

Muldoon oversees operations for the Park County Jail. He has discoverable information regarding

various allegations in Plaintiff’s Complaint, and operations and training at the Park County Jail.”

Exhibit A, pp. 1-2. As previously discussed, the 26(a)(1) disclosures also included two documents,

the Email Chain and Memo, that put Plaintiff on notice of the Captain’s potential involvement in

Mr. Schwark’s alleged constitutional violations.

       11.     Rather than commencing discovery immediately after the completion of the June

23, 2016, Scheduling Conference, as the Rules permit, Plaintiff’s counsel waited until October 4,
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2016, more than two months after the amendment deadline, to propound any written discovery.

See Oct. 4, 2016, Email Sending Plaintiff’s First Set of Written Discovery Requests to Defendants,

attached as Exhibit E. Additionally, although Park County Defendants disclosed Captain Muldoon

as an individual with relevant information, none of Plaintiff’s discovery requests specifically

inquire into Captain Muldoon’s knowledge or participation. Moreover, Plaintiff inexplicably

waited until January of this year to even request the depositions of Park County Defendants. See

Emails from Plaintiff’s Counsel, dated Jan. 4, 2017 and Jan. 5, 2017, attached as Exhibit F. To

date, Plaintiff has not requested the deposition of Captain Daniel Muldoon.

       12.     Another wrinkle in Plaintiff’s proffered justification for waiting almost seven

months after the deadline expired to file his Motion is found in the original Complaint. Since the

inception of this lawsuit, Plaintiff has continued to allege that Captain Muldoon attended the

second sentencing hearing where “Mr. Schwark repeatedly expressed his concern to the Court

about the jail continuing to deny him access to his medication.” Docs. 1 at 8; 13 at 9. Specifically,

the Complaint alleges that the Court permitted “Captain Muldoon from Park County Jail” to make

the following statement on the record related to the Jail’s policy regarding prescription medication:

“Well, sir, our Jail Policy says that the Jail Medical Director trumps any outside medical. So,

before we go and issue meds, we have to look into it, and we have to make sure that nothing is

contraindicated, which happens quite often. People go to a variety of different doctors, Get a

medication from this Doctor, another medication from that Doctor. They cause problems. So, we

need to review everything. Have it medically approved.” Id. Thus, from the outset, Plaintiff and

his experienced counsel knew or should have known that the Captain: (1) held a high-ranking

position within Park County Jail considering he spoke on the record with respect to an official Jail
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policy; (2) had knowledge of the specific policies relevant to Mr. Schwark’s claims regarding

medical treatment as well as their implementation within Park County Jail, and (3) was present for

the second sentencing hearing where Mr. Schwark recounted his prior experience while

incarcerated and expressed concern that the Jail would deny him access to his medication in the

future. At the very least, Plaintiff was well aware that Captain Muldoon was a valuable source of

information, and his failure to conduct any meaningful discovery with respect to the Captain

amounts to carelessness.

        13.     Interestingly, a review of the proposed Second Amended Complaint and Jury

Demand (hereinafter “Amended Complaint”) reveals that Plaintiff could have very well based the

additional allegations on information provided in the initial disclosures. The most substantive

additions are found in paragraph 66 of the Amended Complaint, in which Plaintiff alleges that

Nurse Canterbury informed Captain Muldoon on March 5, 2014 that Mr. Schwark had entered a

state of psychosis and needed immediate medical attention. Plaintiff further alleges that Captain

Muldoon did not provide additional medical treatment to Mr. Schwark until March 10, 2014.1

First, the Email Chain included Nurse Canterbury’s March 5, 2014, email that described Mr.

Schwark’s psychotic episode that day and indicated Captain Muldoon was aware of the situation.

See Exhibit B, p.1. Second, Captain Muldoon issued the Memo on March 10, 2014, confirming

that Park County Jail would pay all bills associated with Mr. Schwark’s hospitalization at Denver

Health, see Exhibit C, which clearly indicates that the Captain has a role in authorizing inmate

transfers to the hospital. It was not necessary to confirm this information with Nurse Canterbury



1
 Paragraph 66 of Plaintiff’s proposed Second Amended Complaint in Jury Demand inaccurately alleges the date as
March 10, 2013 rather than March 10, 2014. Doc. 49-2 at 12.
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prior to filing a motion to amend the Complaint, and such motion should have been filed prior to

July 15, 2016. However, if Plaintiff was not comfortable relying on the initial disclosures to assert

such a claim, then diligent efforts would have required Plaintiff’s counsel to conduct discovery

prior to the amendment deadline to determine the extent of Captain Muldoon’s involvement.

Simply put, Plaintiff cannot establish good cause for amending the Complaint nearly seven months

after the deadline because Plaintiff has not diligently conducted discovery in this case. Likewise,

Plaintiff’s Amended Complaint is unduly delayed given the underlying facts were known to him

much earlier than the date he filed his Motion. See Frank v. U.S. West, Inc., 3 F.3d 1357, 1366

(10th Cir. 1993) (citation omitted) (“[W]here the party seeking amendment knows or should have

known of the facts upon which the proposed amendment is based but fails to include them in the

original complaint, the [Rule 15(a)] motion to amend is subject to denial.”).

       14.     Contrary to Plaintiff’s assertion, there is both futility and prejudice associated with

his request to amend the Complaint to add a party at this late juncture. The statute of limitations

expired long ago on March 10, 2016—exactly two years after the date of the last alleged incident

(i.e., Mr. Schwark was transferred to Denver Health on March 10, 2014). As a result, Plaintiff is

precluded from asserting claims against Captain Muldoon, who would likely be dismissed on a

motion to dismiss. The timeliness of an original complaint does not allow for the addition of a new

party after the statute of limitations has run. See Mwangi v. Norman, No. 16-cv-00002-CMA-

NYW, 2016 WL 7223270, at *6 (D. Colo. Dec. 13, 2016) (finding that “the timeliness of the

original Complaint [did] not save the claims asserted against [the Defendant Officer], because he

was not named until several months later”).
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       15.     Likewise, any attempt to add Captain Daniel Muldoon to this case under Rule

15(c)(1)(C) would be improper. Fed. R. Civ. P. 15(c)(1)(C) permits an amendment that “changes

the party ... against whom a claim is asserted” to relate back to the date the original Complaint was

filed only when “the party to be brought in by amendment … received such notice of the action

that it will not be prejudiced in defending on the merits; and … knew or should have known that

the action would have been brought against it, but for a mistake concerning the proper party’s

identity.” However, there is nothing in the original Complaint or the First Amended Complaint

that would have put Captain Muldoon on notice regarding his liability in this matter. Plaintiff’s

allegations almost exclusively relate to his medical treatment and the conduct of medical

professionals that he interacted with while incarcerated at Park County Jail. Moreover, this is not

a situation where Plaintiff named an officer he mistook as Captain Muldoon and now seeks to

exchange parties. From the beginning, the Complaint has referenced the Captain by name—not as

an individual potentially liable for the alleged constitutional violations, but only as a witness to

Mr. Schwark’s second sentencing hearing. Accordingly, Plaintiff’s request to amend the

Complaint is futile and should be denied.

       16.     Plaintiff’s contention that no party will be prejudiced by this amendment ignores

the consequences of his delay. The case has been pending for over a year. The discovery cut-off

deadline has already been extended once at Plaintiff’s request and the current deadline expires in

14 days, on March 24, 2017. Doc. 46. The granting of Plaintiff’s untimely Motion will force

Defendants to conduct additional and costly discovery, and likely require Park County Defendants

to once again take the deposition of Kyle Schwark. More importantly, Plaintiff discovered no

evidence related to Captain Muldoon’s involvement during Nurse Canterbury’s deposition that
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 was not already available to him. Granite Southlands Town Ctr. LLC v. Alberta Town Ctr., LLC,

 No. 09-cv-00799-ZLW-KLM, 2010 WL 2635524, at *2 (D. Colo. June 8, 2010) (denying motion

 for leave to amend the complaint where the “new” information was in initial disclosures and in

 discovery). Plaintiff’s carelessness should not be rewarded.

           17.   Plaintiff has not shown good cause pursuant to Rule 16 or Rule 15 to amend his

 Complaint to add a new party about who he had knowledge of prior to the filing of the original

 Complaint and prior to the amendment deadline. For these reasons, Plaintiff’s Motion should be

 denied.


                                                  Respectfully submitted,


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                                                  Eric M. Ziporin


                                                  s/ Susan E. McNulty
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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 10th day of March, 2017, I electronically filed a true
 and exact copy of the above and foregoing DEFENDANTS’ RESPONSE TO PLAINTIFF’S
 MOTION FOR LEAVE TO FILE SECOND AMENDED COMPLAINT with the Clerk of
 Court using the CM/ECF system which will send notification of such filing to the following email
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